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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

VITO PRASAD,
Civil Action No: 15-ev-322 (TJM/DEP)

Plaintiff,
-against- : Jury Trial Demand
: SECOND AMENDED
CORNELL UNIVERSITY, : COMPLAINT
Defendant. :
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Plaintiff Vito Prasad by his attorneys Warshaw Burstein, LLP, as and for his Second

Amended Complaint against Cornell University respectfully alleges as follows:
THE NATURE OF THIS ACTION

1. This case arises out of the actions taken and procedures employed by Defendant
Cornell University (“Defendant Cornell” or “Cornell”) concerning allegations made against
Plaintiff Vito Prasad (“Prasad”), a male senior student at Cornell as a result of false allegations
of non-consensual sexual activity with fellow Cornell senior student Greta Schneider-Herr
(“Herr”).

2. These allegations purportedly refer to what was clearly consensual sexual
activity that occurred on or about December 13-14, 2013 (the “Alleged Incident”).

3. On February 18, 2014, some two (2) months after the Alleged Incident, Herr
contacted Cornell’s Office of the Judicial Administrator (“JA”), and reported that she was raped
by Prasad on December 13-14, 2013, while she was incapacitated.

4, Judicial Administrator Mary Beth Grant thereafter requested that Cornell

conduct a formal investigation of the matter and that Dean of Faculty Joseph Burns appoint a

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panel of three faculty members (the “Review Panel”) to ultimately review the investigative
report and make a determination as to the alleged misconduct.

5. After an excessively delayed investigation process, which included interviews
with at least ten (10) witnesses who observed Prasad and Herr in the minutes and hours
preceding the Alleged Incident, Cornell’s Associate Judicial Administrator, Clint Dupew,
prepared an Investigative Report dated April 30, 2014 (the “Investigative Report”). The
Investigative Report consisted of a summary of the findings and a recommendation that Prasad
be expelled from Cornell, or, in the alternative, that his degree be held for a period of not less
than two (2) years during the week of Prasad’s anticipated graduation date.

6. Upon its review of the Investigative Report and responsive statements from
Prasad and Herr, on May 20, 2014, the Review Panel issued a Report of the Reviewers, in which
they unanimously agreed that “under a preponderance of the evidence, [Herr] both (a) did not
give consent to vaginal penetrative sexual activity nor to manipulation of her breasts, and (b) was
physically and mentally incapacitated by alcohol consumption to the point that she was unable to
give such consent” (the “Decision”). As Prasad’s sanction, Cornell initially determined that
expulsion was appropriate, and, upon reconsideration, modified Prasad’s sanction to withhold his
diploma for two (2) years, provided that he meets certain enumerated conditions (the
“Sanction”).

7. In addition to the damages sustained by Prasad at Cornell throughout the
delayed investigation process, including his inability to attend his own graduation or receive his
diploma on graduation day, Prasad has sustained tremendous damages to his career prospects as
a result of the Decision and Sanction, including the loss of five (5) job offers to date, due to the

fact that he is unable to produce his diploma upon demand to such prospective employers.

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8. Throughout the investigative process, Cornell failed to abide by its own
guidelines and regulations and acted in direct violation of federal and/or state law.

9. A non-exhaustive list of Cornell’s wrongful actions include the following: (i)
Cornell failed to timely bring the case to a close within sixty (60) days in violation of its policies;
(ii) Cornell failed to conduct a thorough and impartial investigation; (iii) Cornell employed a
single-investigator model which resulted in a lack of due process for Prasad; (iv) Cornell
purportedly performed a Blood Alcohol Content analysis to form conclusions that were
unsupported and highly prejudicial; (v) Cornell engaged in an investigation biased against Prasad
as the male accused; (vi) Cornell wholly adopted Herr’s unsupportable theory of “sailboat
community values” as evidence; (vii) Cornell relied on an investigation consisting of a skewed
rendition of the facts, cherry-picked witness statements and ignored important qualifying
statements; (viii) Cornell made assessments of credibility and evidentiary weight with respect to
each fact witness without any ascertainable rationale or logic; (ix) Cornell failed to afford Prasad
the requisite presumption of innocence required by a preponderance of the evidence standard;
and (x) the Sanction was unwarranted and disproportionate in light of the circumstances, all of
which demonstrated substantial procedural errors in violation of Title IX.

10. When Cornell subjected Prasad to disciplinary action, it did so in an arbitrary
and capricious way, and in discrimination against him on the basis of his male sex. Cornell failed
to adhere to its own guidelines and regulations, and the guidelines and regulations themselves are
insufficient to protect the rights of male students. The decision reached was discriminatory;
given the evidence (or lack thereof), a discriminatory bias against males was required for a

conclusion of sexual misconduct to be reached.

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11. Prasad has been greatly damaged by the actions of Defendant Cornell: his career
prospects have been severely compromised as he is unable to produce a diploma to potential
employers; the monies spent on obtaining a college education at Defendant Cornell squandered.
Specifically, Prasad has lost five (5) job offers to date, worth an estimated value of
approximately $200,000.00 each.

12. Prasad therefore brings this action to obtain relief based on causes of action for,
among other things, violations of Title IX of the Education Amendments of 1972 and state law.

THE PARTIES

13. Prasad, is a natural person, citizen of the United States, and resident of the State
of California. During the events described herein, Prasad was a student at Cornell and resided at
201 Wyckoff Avenue, Ithaca, New York 14850, a private house not owned by Cornell.

14. Upon information and belief, Defendant Cornell University is a private, liberal
arts college in the city of Ithaca, New York, with an address of 300 Day Hall, Ithaca, New York
14853.

15. Prasad and Defendant Cornell are sometimes hereinafter collectively referred to
as the “Parties.”

JURISDICTION AND VENUE

16. This Court has diversity and supplemental jurisdiction pursuant to 28 U.S.C. §
1332 and under 28 U.S.C. § 1367 because: (i) Prasad and Defendant Cornell are citizens of
different states and the amount in controversy exceeds $75,000.00, exclusive of costs and
interest; and (ii) the state law claims are so closely related to the federal law claims as to form

the same case or controversy under Article III of the U.S. Constitution.

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If. This Court has personal jurisdiction over Defendant Cornell on the grounds that
it is conducting business within the State of New York.

18. Venue for this action properly lies in this district pursuant to 28 U.S.C. §1391
because Cornell is considered to reside in this judicial district and a substantial part of the events
or omissions giving rise to the claim occurred in this judicial district.

FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

I. Prasad Was a Model Student With No Prior Disciplinary Record

19, Prasad worked diligently for four years at an esteemed public high school in
Northern California, where he obtained a 3.83 GPA, scored above the 95th percentile on his
SAT’s, obtained perfect scores on the SAT II in math and chemistry, and took seven Advanced
Placement courses. While in high school, Prasad developed a particular interest in chemistry and
became involved in scientific research internships to pursue his interest in the sciences. He was
also a varsity athlete in cross country, a member of the track and tennis teams, he started an NGO
group on campus, was an Officer of the Astronomy Club, a member of the Science Bowl Club,
played the piano for ten years and was named an AP Scholar with Distinction. Prasad’s
immigrant parents strived for the “American Dream” of educating Prasad at a prestigious
University. His work ethic paid off when, as a result of his academic achievements, Prasad
received a “Likely Letter” from Cornell University on March 14, 2010, further demonstrating his
successful candidacy for an undergraduate education at Cornell.

20. Setting his sights on an Ivy League education, Prasad applied to Cornell
University and was accepted to the College of Arts & Sciences class of 2014 for chemistry. He
ultimately transferred to the School of Chemical and Biomolecular Engineering where he

focused his studies on chemical engineering.

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21. While a student at Cornell, Prasad was a student in good academic standing, and
had no prior history of disciplinary misconduct.

II. Cornell’s Adjudication Process Under Policy 6.4

22. When Prasad was first accepted to Cornell as a student he was provided with
copies of Cornell’s school policies, including the Campus Code of Conduct and Policy 6.4:
Prohibited Discrimination, Protected-Status Harassment, Sexual Harassment, and Sexual Assault
and Violence (“Policy 6.4”). A copy of Policy 6.4 is annexed hereto as Exhibit A. Policy 6.4
sets forth the procedures for the investigation, review and sanction of students accused of sexual
misconduct.

23. The JA is responsible for receiving all complaints and providing procedures to
ensure a fair process for the accused and for the complainant. The JA has exclusive responsibility
for accepting and processing prohibited discrimination and protected-status harassment
complaints, including sexual assault/violence, and will undertake to resolve these complaints
impartially, promptly, and confidentially through informal intervention, mediation, or formal
investigation. See, Policy 6.4, p. 17, Exhibit A.

24. In addition, Policy 6.4 states that upon the JA’s initial review of a complaint, if
the JA determines that the complaint (a) describes an alleged violation of its policy, it will notify
the “accused” that he or she has been named in a complaint and proceed under the policy
accordingly; or (b) does not describe an alleged violation, it will notify the complainant that the
complaint is dismissed. /d.

25. According to Policy 6.4, if the JA determines that the complaint describes an
alleged violation of its policy, an investigation will be commenced. The purpose of such

investigation being “to gather evidence relating to the alleged discrimination, harassment, sexual

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assault/violence or retaliation to determine whether the accused engaged in conduct constituting
discrimination, harassment, or retaliation by a preponderance of the evidence.” See, Policy 6.4, p.
18, Exhibit A.

26. Cornell’s Policy 6.4 expressly covenants to provide the following rights to the

accused student in a sexual misconduct investigation:

° To have the investigation completed within 60 days (See, Policy 6.4, p. 18,
Exhibit A);

e To seek the advice of a personal attorney or advisor, who may attend their
own clients’ or advisees” investigative interview (See, Policy 6.4, p. 18,
Exhibit A);

° To be kept informed of the investigation’s status (See, Policy 6.4, p. 18,
Exhibit A);

© To receive a copy of the investigation report summary and be permitted a

reasonable opportunity (ten business days) to submit written comments
and ask the reviewer to review the evidence, determination and/or
recommended sanctions or remedial measures contained in the report (See,
Policy 6.4, p. 20, Exhibit A);

e To receive a copy of the final determination in writing (See, Policy 6.4, p.
20, Exhibit A).

27. During the investigation process, under Policy 6.4, the accused student is
entitled to utilize the services of a Judicial Codes Counselor (“JCC”), who provides free
assistance and representation to those under investigation for violations of Cornell’s policies.
See, Policy 6.4, p. 35, Exhibit A.

28. The complainant is entitled to seek advisement from a discrimination and
harassment advisor, victim’s advocate, local human resource representative, Office of Workforce
Policy and Labor Relations representative or the ombudsman. See, Policy 6.4, p. 39, Exhibit A.

29. Pursuant to Policy 6.4, the investigator may dismiss a complaint and close the

case where, inter alia, the complaint is not supported by sufficient facts, lacks merit based upon

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the available evidence, or does not fall within the jurisdiction of the investigator. See, Policy 6.4,
p. 20, Exhibit A.

30. Upon concluding the investigation, the investigator must produce to the Review
Panel a written investigation report, which includes, “the scope of the investigation, a summary
of the findings, recommendations for any corrective actions and/or sanctions, any non-punitive,
preventative remedies for the complainant...” See, Policy 6.4, p. 19, Exhibit A.

31. Before a determination is made, the Review Panel must forward copies of the
Investigative Report to the complainant and the accused and provide them with ten (10) business
days to respond with further comments for consideration by the Review Panel. See, Policy 6.4, p.
20, Exhibit A.

32. Following an unfavorable decision, the accused student has the right to appeal
the resolution of a matter within ten (10) business days by asking the vice president for student
and academics services (“VPSAS”) or his or her designee to review the evidence, determination,
and/or recommended sanctions or remedial measures (or lack thereof) contained in the report.
See, Policy 6.4, pp. 25-26, Exhibit A. The VPSAS will conduct a review, and may accept,
modify or reject the determination or recommended sanctions and/or remedial measures. An
Appeal may be based on any of the following grounds:

° The remedial actions awarded the complainant are not commensurate with
the injury or is unjust;

e The sanction is not commensurate with the violation or is unjust;
° The investigator or reviewer violated the fair application of relevant
university procedures and such violation may have had a prejudicial effect

upon the outcome;

e The investigator or reviewer committed a prejudicial error in interpreting
the policy;

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e The investigator or reviewer rendered a decision clearly against the
evidence;

e New evidence was discovered after the decision and could not have
readily been discovered before the decision, which would change the
outcome.

See, Policy 6.4, p. 26, Exhibit A.

II. The Alleged Incident: The Night of December 13-14, 2013

33. On Friday, December 13, 2013, an end of semester event for Chemical
Engineering students was held at the Statler Hotel. Prasad and Herr, both seniors and Chemical
Engineering majors, attended the event. Prasad and Herr initially met during the spring semester
of 2011. Since they were in the same major in the School of Chemical and Biomolecular
Engineering, they had all classes together and had become acquaintances.

34. A cocktail reception began at 6:00 p.m. and dinner was served at 7:00 p.m. The
party consisted of dinner and drinks with classmates, Teaching Assistants, graduate students and
professors from the Chemical Engineering school. Witness O.G. observed that Herr and Prasad
“seemed happy and friendly” and noticed them talking to each other at the event.

35. All students were given two drink tickets to use during the event. The gathering
concluded around 8:30 p.m.

36. After the holiday party, Herr and some of her friends returned to her apartment,
a privately owned apartment off campus about half a block away, to drop off their purses and
winter boots. They then joined their classmates, Teaching Assistants, graduate students and
professors at a residence located in Collegetown at around 10:00 p.m., where they continued
socializing, dancing and drinking. Even though everyone had been drinking, witness M.N.

indicated that Herr was not intoxicated to the point that she did not know what was going on.

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37. While at the after party in Collegetown, Prasad and Herr participated in a game
of beer pong together and continued to talk. Witness M.V. noticed Herr and Prasad getting close
and flirting.

38. Prasad and Herr continued to flirt throughout the evening, by dancing together,
talking, and Herr touching Prasad’s hair. Witness N.N. indicated Herr “wasn’t drunk, maybe a
couple of drinks, but not messy drunk.” Additionally, Witness L.T. stated that although Herr
seemed to consume a lot of alcohol, she “didn’t notice anyone having trouble walking or slurring
[their] speech.”

39. Prasad consumed approximately five or six drinks over a ten-hour period
throughout the evening. Herr alleged she consumed approximately fifteen drinks throughout the
evening, consisting of three glasses of wine, half a bottle of Malibu Rum, another third a bottle
of rum, two more glasses of wine, a bottle of wine, two shots of unknown hard alcohol and one
beer. Although Prasad was in Herr’s presence the whole evening, he did not observe her
consuming fifteen drinks.

40. Herr had previously teased her friends for being “lightweights,” in reference to
their inability to consume as much alcohol as she could. For instance, on Slope Day, she
allegedly completed a “century” (a 1.5 ounce shot of beer every minute for 100 minutes), the
equivalent to 12.5 beers in 1.67 hours, and was the only one of her friends who did not get sick
afterwards.

41. At around 2:30 or 3:00 a.m. on December 14, 2013, Prasad, Herr, and Witnesses
L.T., M.N., M.V. and V.P. left the party together and walked back to Herr’s apartment. Some

members of this group had to retrieve their belongings dropped off earlier in the evening.

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42. Although everyone had been drinking, no one was very intoxicated as there had
been professors present at both the holiday party and the after party. Specifically, neither Prasad
nor Herr had trouble walking home despite the snow and icy conditions and neither was slurring
their speech. Witness V.P. indicated that everyone was “buzzed” but that Herr did not appear
intoxicated, let alone incapacitated. In fact, she was able to walk home through inclement
weather, ascend the flight of stairs in her building and unlock the door to her apartment, without
any assistance.

43. Prasad, Herr and Witnesses L.T., M.N., M.V. and V.P. remained in Herr’s
apartment for approximately twenty-five minutes. They engaged in conversation in Herr’s
kitchen, discussing various topics such as their previous sexual experiences. The Witnesses
indicated that no member of the group appeared overly intoxicated, to the point of being
incapacitated.

44. At some point during the conversation, Herr removed her bra from under her
shirt, in front of the whole group. As she did this, she motioned toward Prasad and got closer to
him.

45. When the four friends departed, Prasad remained behind, and Herr did not
protest. Witness V.P. testified that Herr seemed fine when he left Herr and Prasad at the
apartment. Additionally, Witness M.V. testified that if he felt Prasad was too drunk to be there
with Herr, he would have made him leave. Further, M.V. stated that “if [he] felt [Herr] was in
any way in danger [he] would not have left.”

46. Herr claims that she agreed to let Prasad spend the night at her apartment, due to

the cold weather and the distance to Prasad’s apartment. Herr did not have a couch so it was

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understood that Prasad would sleep in her bed with her. She attributed this hospitality to her
German family’s alleged “sailboat community ideals.”

47. After M.N., M.V., L.T. and V.P. departed, Prasad informed Herr that he was
interested in her. Prasad and Herr began to kiss while standing up. The kissing continued as they
moved towards the bed. They spoke occasionally in between kissing and, at one point, Herr
apologized for the mess in her room. They verbally communicated about hooking up, with Herr
advising that she was “horny” but that she did not want to have sex. Herr removed her own dress
and underwear, and Prasad followed, by removing his pants and underwear. Herr begin to
manipulate Prasad’s penis and Prasad began to digitally penetrate Herr.

48. Prasad and Herr engaged in consensual sexual activity for approximately one
hour.

49. Both Prasad and Herr were awake and coherent at all times during the sexual
activity, communicating non-verbally by touching, stroking and kissing each other.

50. Herr demonstrated her consent through both words and actions, by actively
participating in the sexual activity, stating her willingness to engage in sexual activities as long
as it wasn’t sexual intercourse, manually manipulating Prasad’s penis, removing her own
clothing and underwear and continuing to kiss and touch Prasad throughout the sexual encounter.

51. Prasad and Herr faced each other during the entire hour of sexual activity and
Herr brushed her fingers through Prasad’s hair.

a2. Prasad and Herr fell asleep together in Herr’s bed and woke up later that

morning around 8:30 a.m. when an alarm clock went off.

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53. When they awoke, Prasad and Herr engaged in conversation, including a
discussion about her love of rabbits and the fact that she wanted to take a shower, before Prasad
indicated that he would leave.

54. Given they had mutual friends and were a part of the same major, Herr advised
Prasad to not “make it weird.”

55. The relationship between Prasad and Herr did not change after the Alleged
Incident, as they continued to attend the same classes, sit nearby each other and complete their
finals for the winter semester.

56. On February 18, 2014, more than two (2) months after the sexual encounter,
Herr filed a complaint against Prasad, requesting a formal investigation of a matter involving
sexual assault and/or sexual harassment. The complaint alleged that Prasad raped Herr on
December 14, 2013, while she was incapacitated. A temporary no contact order was immediately
put in place on February 24, 2014.

III. The JA’s Investigation Was Replete With Violations of Policy 6.4

57. Upon the filing of Herr’s complaint on February 18, 2014, Judicial
Administrator Mary Beth Grant (“Grant”) requested that Dean of Faculty Joseph Burns assemble
a panel of three faculty members to review the matter.

58. On February 18, 2014, Associate Judicial Administrator Clint Dupew
(“Dupew”) and Coordinator Inclusion and Diversity Program Rose Braman (“Braman”) began
an investigation into Herr’s allegations of sexual misconduct with an interview of Herr.

39. That same day, the JA contacted Prasad via telephone to request his appearance
at the JA’s office on February 24, 2014. Prasad was informed that a complaint had been filed

against him, but he was not provided any details about the nature of the allegations.

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60. Prasad was caused to suffer considerable stress and anxiety for approximately
one week, as he awaited his meeting with the JA and an explanation of the allegations against
him.

61. Six days later, on February 24, 2014, Prasad appeared at the JA office with
Judicial Code Counselor David Coriell (“Coriell”). At that time, Grant informed Prasad that Herr
had filed a complaint against him relating to the events of December 13, 2013. Grant forced
Prasad to sign a paper acknowledging receipt of the complaint, as well as a No Contact Order
that Prasad was required to adhere to.

62. Subsequently, Dupew and Braman began to question Prasad about the evening
of December 13-14, 2013. Dupew initially asked a number of very broad questions, none of
which focused on the amount of alcohol consumed by Herr, followed by more specific questions
regarding the sexual activity.

63. Thereafter, by email to Dupew dated March 2, 2014, Prasad sent a list of
potential witnesses that could speak to the events of the night of December 13-14, 2013. The list
included Witnesses L.T., M.N., N.N., M.V., A.P. and O.G.

64. Nearly two months after his initial interview, on April 16, 2014, Prasad returned
to the JA office, accompanied by Coriell, for a follow up interview. Dupew asked Prasad
questions similar to those from the first interview, apparently seeking inconsistencies in his
statements. During Prasad’s second interview, Dupew indicated that Herr, according to her, had
consumed an estimated eighteen drinks on the night of the Alleged Incident. Dupew never asked
Prasad whether he personally observed this.

65. At the conclusion of the interview, Prasad inquired as to the status of the

Investigative Report, given he was expecting to graduate from Cornell in less than two months.

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Dupew advised, in the presence of Coriell, that if he were to find any fault on the part of Prasad,
“personally seeing that [Prasad was] a graduating senior, worst case scenario I will not
recommend suspension or expulsion. You are too close to graduation and this would not make
sense.” Mr. Dupew further advised Prasad and Coriell that Prasad’s case was “air-tight” in that
Prasad’s defense was fully corroborated by witness testimony.

66. At the conclusion of the investigation, investigators Dupew and Braman issued
the Investigative Report on May 2, 2014 (“Investigative Report”). Prasad was blindsided to learn
that the investigators recommended a “guilty” determination and a sanction of expulsion, or, in
the alternative, to hold Prasad’s degree for a period of not less than two years.

67. Additionally, Prasad’s review of the Investigative Report revealed the litany of
omissions, misstatements, and errors made by the investigators in violation of Policy 6.4.

A. Cornell’s Violation of the Duty to Gather Relevant Evidence

68. Dupew failed to “gather evidence relating to the alleged...sexual assault to
determine whether the accused engaged in conduct...by a preponderance of the evidence.” See,
Policy 6.4, p. 18, Exhibit A.

69. At no time during the investigation, did Dupew inquire whether Prasad was in
possession of any documents or evidence that would support his statement. Such an inquiry
would have led Prasad to offer a publicly available photograph of Herr from her online social
media page. The photograph depicts Herr sticking her tongue out, in direct contradiction to her
claim that she cannot stick her tongue out. The photograph would have been relevant to the issue

of Herr’s credibility.

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70. Aside from the interviews of Prasad and Herr, the investigation consisted solely
of witness interviews. According to the Investigative Report, “No physical or tangential
documentary evidence was provided or otherwise considered.”

B. Cornell’s Violation of the Duty to Dismiss the Complaint

71. Where the investigator finds that the complaint “is not supported by sufficient
facts, lacks merit based upon the available evidence, or does not fall within the jurisdiction of the
investigator,” the investigator may dismiss the complaint. See, Policy 6.4, p. 20, Exhibit A.

72. Throughout the investigative process, Cornell obtained at least four (4) witness
statements which demonstrated that Herr was not exhibiting visible signs of intoxication during
the time prior to, leading up to, and/or during the intimate encounter with Prasad.

(i) Witness M.N. was with Herr at the Statler party, at the after party in

Collegetown, and also went back to Herr’s apartment afterwards with the
group of friends. She stated: “*...I did not feel [Herr] was intoxicated to the
point she was not aware of what was going on...”; and “They were both
drinking but aware of surroundings and such”;

(1i) Witness V.P. was also with Herr at the Statler party as well as the after

party and observed Herr “didn’t appear intoxicated.” In fact, Witness V.P.
reported “she seemed fine”;

(iii) | Witness N.N. attended both events on December 13, 2013; he indicated

Herr “wasn’t drunk, maybe a couple of drinks, [but] not messy drunk.” He
further stated he did not recall anyone “really drunk, crazy, or stumbling at
the after-party;” and

(iv) | Witness L.T. who attended the party and returned to Herr’s apartment

afterwards, indicated that she “didn’t notice anyone having trouble
walking or slurring [their] speech.”

73. Instead of dismissing the complaint for lack of supporting facts, the
investigators disregarded these eyewitness accounts in concluding that Herr was not able to

consent to the sexual encounter due to her level of intoxication, a conclusion based solely on

Herr’s uncorroborated and self-reported level of intoxication.

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C. Cornell’s Failure to Conduct an Impartial Investigation

74. Cornell’s Policy 6.4 requires that the investigation of a complaint involving
sexual misconduct be conducted thoroughly and impartially. See, Policy 6.4, p. 17, Exhibit A.
Notwithstanding, Cornell performed a one-sided and biased investigation in favor of Herr’s
allegations of sexual misconduct.

75. The investigator’s impartiality is particularly paramount in misconduct cases at
Cornell where it now employs a single-investigator model for the investigation of sexual
misconduct cases. Instead of holding a “hearing” before a panel of board members, which was
the campus adjudication system in place at Cornell prior to 2013, the investigator now takes on
the role of “judge, jury and executioner.” The single investigator model effectively forecloses the
accused student from defending himself since there are no safeguards or checks and balances in
place along the way to ensure that the JA’s ultimate conclusion was objective and sound.

(a) The JA’s Witness Interviews Were Misleading and Improperly Summarized

76. When the JA conducted interviews with knowledgeable witnesses, several
witnesses stated they were confused and misled by the questions presented by the JA; the JA’s
questions were not straightforward; and the JA failed to provide any context so as to allow for
the full and fair discovery of facts and details each witness had to offer.

77. For example, the Investigative Report severely misrepresented the testimony
provided by Witnesses L.T., M.N. and M.V. by selectively omitting portions of their statements
and presenting others out of context.

78. Witness M.V. is quoted in the Investigative Report as stating that the after-party
“was getting rowdy and people were getting drunk.” However, Witness M.V. wrote a letter to the

JA stating, inter alia, that Dupew “did not properly summarize my testimony,” and that the

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Investigative Report “downplays the situation and only highlights the moments that appear
strange with no context to why they ever occurred.”

79. The Investigative Report quotes Witness L.T. as stating “[Herr] was intoxicated,
[but the witness was] not sure of [Herr’s] level of drunkenness. [Though][Herr] seem[ed] to
consume a lot of alcohol.” Witness L.T. subsequently advised, however, that she was
inaccurately misquoted. Not only is “intoxicated” not a part of her lexicon, but Witness L.T. also
does not recall making any statement about Herr’s level of “drunkenness.” The JA haphazardly
pieced together L.T.’s testimony to fit into Herr’s narrative. Moreover, the JA officer who
interviewed L.T. erroneously advised that everything L.T. said would be kept confidential from
both Prasad and Herr, which obviously was a false assurance.

80. Similarly, the Investigative Report substantially altered Witness M.N.’s
testimony by stringing together different portions of her dialogue and omitting other portions in
order to create an account that fit Herr’s narrative. Subsequent to her review of the Investigative
Report, Witness M.N. clarified that she specifically advised the investigator that although Herr
did consume alcohol on December 13, 2013, they were at a holiday party with the Chemical
Engineering department; thus, no one drank to the point of blacking out in front of their
professors. She further specified that while everyone did consume alcohol, no one was visibly
intoxicated beyond the typical jovial mood that occurs when a group of friends drink together.
Thus, the JA investigator misconstrued his long and arduous dialogue with MLN. in concluding
that M.N.’s testimony implied “[Herr] was drinking....more than usual.”

81. Dupew’s line of questioning and method of investigation was misleading,
inaccurate, and, therefore, arbitrary and capricious.

(b) The JA Accepted Illogical and Unchallenged Evidence in Favor of Herr

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82. Using an unverified online Blood Alcohol Content (“BAC”) calculation tool
from Cornell’s own Gannett Health Services, the investigators nonsensically determined that,
based solely on Herr’s self-reported alcohol consumption and unsubstantiated body weight, her
BAC was approximately .33, a level resulting in effects similar to “surgical anesthesia.”

83. The investigators arrived at their BAC conclusion without questioning Prasad,
or Witness L.T. or Witness M.N. about Herr’s alcohol consumption, despite the fact that Prasad
as well as L.T. and M.N. were with Herr throughout the evening.

84. Dupew’s BAC calculation was also informed by Herr’s self-reported weight,
which was directly contradicted by Witness L.T.’s testimony that Herr’s weight is substantially
more than her self-report.

85. The Investigative Report omits Witness L.T.’s account of the evening, which
directly contradicted Herr’s self-reported alcohol consumption. Specifically, Witness L.T.
recalled that Herr consumed significantly less than reported by Herr herself. Had Dupew
considered this eyewitness testimony, Herr’s estimated BAC level would undoubtedly have been
altered considerably.

86. Witnesses also indicated there was no readily apparent change in Herr’s
behavior subsequent to the sexual encounter with Prasad; in fact, when she went out for her
friend’s birthday in January 2014, she consumed a “fishbowl” and “heavily flirtfed]” with
Witness L.T.’s ex-boyfriend.

87. Notwithstanding several witnesses’ concurrence that Herr was not incapacitated,
the JA illogically concluded that Herr was “intoxicated to the point of being mentally

incapacitated and incapable of consent to engage in ...sexual activity.”

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88. Additionally, the investigators failed to corroborate Herr’s claim that she was
adhering to German “sailboat community values” when she offered to allow Prasad to spend the
night at her apartment and sleep in her bed. The wholesale adoption of Herr’s unsupported claim
without any independent investigation violated Cornell’s duty to conduct an impartial
investigation.

(c) Prasad Was Denied Any Opportunity to Challenge Herr’s Allegations

89. Prasad was denied the opportunity to challenge the credibility of witnesses. For
example, Witness C.G. had breakfast with Herr two days after the Alleged Incident, and
described Herr’s appearance as “disheveled,” in order to suggest the truth of Herr’s allegations
that she was raped two days earlier. Prasad was unable to challenge Witness C.G.’s hearsay
statements and irrelevant observations, whether directly or through the investigators.

90. Unable to draw out distinctions and details used by witnesses to qualify their
stated observations of Herr’s level of intoxication, Prasad was placed in an indefensible position.

91. There was no opportunity for Prasad to confront or cross-examine Herr about
important factors such as her self-reported number of alcoholic drinks consumed, actual weight,
German “sailboat community values” or convenient memory lapses for certain portions of the
evening.

(d) Investigation Report Failed to Redact Prejudicial Evidence

92. The JA admitted evidence into the record that would likely mislead the Review
Panel or cause it to confuse the issues in violation of Policy 6.4.

93. The Review Panel was presented with illogical evidence regarding Herr’s BAC
at the time of the alleged sexual misconduct based on her self-reported consumption of an

unlikely fifteen drinks on December 13-14, 2013.

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94. Several witnesses’ testimony as well as Herr’s own testimony undermine the
credibility of the JA’s BAC calculation; for instance, Herr recalled a conversation she had with
Prasad, she recalled the different types of alcohol allegedly consumed throughout the evening,
and she recalled utilizing sailing social customs allegedly learned from her parents. The JA,
therefore, illogically calculated Herr’s estimated BAC level without any corroboration and
rendered a medical/forensic analysis thereon without the benefit of any medical training or
expert opinion.

95. Further exacerbating the JA’s irreconcilable conclusion, Dupew advised the
Review Panel, in an email dated May 7, 2014, that he “believe[d] the Complainant’s BAC may
have actually been higher; up to a tenth of a point higher...”

96. Notably, had Herr’s BAC been up to a tenth of a point higher, a BAC of .43 is
nearly fatal. Hence, if Herr’s self-reported consumption is to be believed, it would certainly be
the case that witnesses would have noticed an extreme level of intoxication, yet none of the
witnesses interviewed reported this.

97. When questioned by the Review Panel as to how exactly Dupew determined the
number of drinks consumed by Herr, Dupew admitted that the numbers used in his BAC
calculation were based solely on Herr’s self-reported account. Ultimately, the Review Panel was
pacified by Dupew’s unsupported explanation for his BAC calculation.

98. The inclusion of such unsubstantiated evidence unfairly prejudiced Prasad and
led to a wrongful finding that Prasad “raped and sexually assaulted” Herr because she was too

incapacitated to consent.

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99. Cornell’s failure to redact such prejudicial evidence constituted a violation of its
duties to provide an “adequate, reliable, and impartial investigation” and a “prompt and
equitable” process under Policy 6.4 and Title IX.

(e) The Investigative Report Contained Material Errors, Omissions and Misstatements

100. The Investigative Report mischaracterized Prasad as a_ predator,
mischaracterized Herr’s state of intoxication, and mischaracterized the testimony leading up to
and during the encounter. Such mischaracterizations and assessments demonstrated a bias in
favor of Herr’s narrative that she was too intoxicated to consent.

101. According to the Investigative Report, Herr had breakfast with her close friend,
Witness C.G., two days after the Alleged Incident, on the morning of Monday December 16,
2013. Witness C.G. described Herr’s appearance as “disheveled,” and stated she looked “tired
and with messy hair.” As Witness C.G. was not present on the evening of December 13, 2013,
any statements she made regarding the Alleged Incident constituted mere hearsay.

102. Notably, the Investigative Report misrepresented the testimony provided by
C.G. in stating that this breakfast took place the morning after the Alleged Incident, on Saturday
December 14, 2013, when in fact it did not take place until two days later, on December 16,
2013.

103. Further, the Investigative Report erroneously attributed Herr’s disheveled
appearance to the Alleged Incident, despite the fact that the sexual activity between Herr and
Prasad occurred more than two days prior, and Herr had presumably taken at least one shower in
the interim.

104. Despite Vice President of Student and Academic Services Susan Murphy’s

subsequent acknowledgement of this error, the Investigative Report was neither corrected nor

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was the JA’s Decision modified accordingly in violation of Cornell’s duty to conduct an
impartial investigation.

105. Also, the following key details were completely omitted from the Investigative
Report:

(1) Prasad stated that when they awoke the next morning, he and Herr
engaged in conversation, including a discussion about her love of rabbits
and the fact that she wanted to take a shower before Prasad indicated that
he would leave.

(ii) Witness M.V. stated: (i) “I felt like she was interested in him and it made
me uncomfortable that I was there”; (ii) “[Herr] didn’t say anything to any
of us about being alone with [Prasad] so we felt like they were OK”; and
(iii) “If I felt that [Prasad] was too drunk to be there with [Herr] I would
have made him leave. And if I felt [Herr] was in any way in danger I
would have not left, or made [Prasad] leave.”

(iii) | Witness M.N. stated: (i) “...I did not feel [Herr] was intoxicated to the
point she was not aware of what was going on...”; and (ii) “They were
both drinking but aware of surroundings and such.” Notably, M.N. never
stated that “[the Complainant seemed tipsy; she had a fair amount, but
was able to walk,” yet this statement was erroneously attributed to Witness
M.N. in the Investigative Report and was accepted as a finding of fact
about Herr’s level of intoxication.

(iv) Witnesses M.N., L.T. and M.V. all stated that Prasad was with the group
when everyone walked over to Herr’s apartment. L.T., M.V. and O.G. all
indicated that Prasad and Herr were interacting, even flirting, with each
other throughout the evening, during the holiday party and at the after-
party. Notwithstanding, the JA prejudicially mischaracterized Prasad as
“following the group” and “checking in” on Herr out of concern for her,
then proceeding to engage in “predatory behavior” and “[take] advantage
of an intoxicated individual.”

106. In no way do the collective statements from the witnesses lead to the conclusion
that Prasad was a “sexual predator” or engaged in “predatory behavior,” yet that was the
conclusion presented to the Review Panel.

107. Additionally, throughout the Investigative Report, the JA makes assessments of

credibility and evidentiary weight with respect to each fact witness without any ascertainable

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rationale or logic. Overall, such credibility and evidentiary weight assessments clearly
demonstrated a bias in favor of Herr’s narrative that she was too intoxicated to consent. For
instance:

(i) C.G. was deemed “extremely credible” and “significant weight
was given to this witness since she was the first person to whom
[Herr] gave an account after the incident.” However, significantly,
C.G. was best friends with Herr, was not present on the evening in
question, and merely served the function of a receptacle of self-
serving statements by Herr. Moreover, the Investigative Report
erroneously noted that C.G. had breakfast with Herr the morning
after the Alleged Incident, on December 14, 2013. However, as
acknowledged subsequently by Vice President Susan Murphy, this
information was inaccurately presented by the investigators, as
C.G. did not see Herr until two days later, on Monday, December
16, 2013. Thus, any reference to Herr’s “disheveled” or “messy”
appearance as reported by C.G. simply cannot be attributed to the
events of December 13, 2013. Accordingly, the fact that C.G.’s
statements were given “significant weight” is extremely
problematic as her testimony was merely used to prejudice Prasad;

(ii) A.L. was “extremely credible” and “weight was give[n] only as
to [Herr’s] likelihood of intoxication.” However, A.L. never
provided any observations of intoxication specific to Prasad or
Herr. He only stated, in general terms, that “most people [were]
drunk” and that whenever he talked to Herr that evening, she had a
“cup in [her] hands.” There is no basis for extrapolating from this
statement that the “cup in [Herr’s] hands” was a different cup each
time, nor does it indicate how much time had elapsed during his
observations and what, if any correlation, that might have on how
many cup(s) Herr may have had during that time. At best, A.L.’s
observations are neutral, and, at worst, they do not provide any
insight into Herr’s level of intoxication:

(iii) M.N. was found to be “extremely credible” and “significant
weight was given to this witness as she was present throughout
many of the events leading up to the alleged assault.” However,
the JA ignored M.N.’s qualifications, “...but not incapacitated”
and “but was able to walk” and even prejudicially misquoted her as
stating that “[Herr] seemed tipsy; she had a fair amount, but was
able to walk.” In fact, M.N. never stated that Herr seemed tipsy;

(iv) V.P. was considered “credible,” but “seemed to underestimate
the effects of alcohol when compared to other’s account.” For the

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first time, the JA does not assess the witness as “extremely
credible” and passes negative judgment on the witness’s
observations of the evening, which coincides with the fact that this
was the first witness to blatantly state that “[Herr] didn’t appear
intoxicated” and that “she seemed fine.” Apparently, V.P.’s
observations undermined the JA’s narrative that Herr was unable
to consent, so the JA undermined V.P.;

(v) Witness H.P. was found to be “extremely credible” and
“significant weight is given to this witness as to his ability to
observe independently that [Herr] was intoxicated and he himself
was not in an intoxicated state.” However, H.P.’s own statement
admits that he has no basis for passing judgment on Herr’s level of
intoxication, “intoxicated, not terribly, but...[he] had never seen
her intoxicated.” Notwithstanding, the JA illogically accords
“significant weight” to H.P.’s assessment of Herr’s level of
intoxication. Furthermore, as Witness L.T. recounted, the JA’s
conclusion about H.P.’s own intoxication was inaccurate, “On our
way, we ran into [HP] who [MN] and [Herr] both knew. It was
kind of an awkward exchange of words because [HP] was
obviously very intoxicated.” H.P. was observed in this very
intoxicated state at 3:00 am. that morning, according to L.T.’s
account. The JA’s significant reliance on H.P. as an “extremely
credible” witness strains credulity;

(vi) Witness N.N. was found “credible” and “some weight was
given to this witness since he was neutral on what was observed
yet, he was not able to speak to anything directly related to the
allegations.” This assessment couldn’t be further from the truth.
N.N. stated that he “attended the events [in question] on December
13, 2013” and that he “observed [Herr] to be drinking” that “[Herr]
wasn’t drunk, maybe a couple of drinks, [but] not messy drunk.”
Contrary to the JA’s assessment, N.N.’s observation of Herr’s level
of intoxication is “directly related to the allegations” and
demonstrates that Herr was not drunk;

(vii) L.T. was “credible” and “some weight was given to this
witness since she was consistently present throughout.” M.N. was
“present throughout many of the events,” and assessed as
“extremely credible” and given “significant weight.” However,
L.T. was also “consistently present throughout,” yet, inexplicably,
labeled as merely “credible” and accorded “some weight.” L.T.
indicated that she “didn’t notice anyone having trouble walking or
slurring [their] speech.” Importantly, L.T. provided a supplemental
statement (submitted as Exhibit 1 to Prasad’s Appeal from the
Report of the Reviewers on June 3, 2014), wherein she refutes the

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number of drinks Herr claims she consumed that evening, refutes
Herr’s actual body weight, and advised that Herr called her a
“lightweight” because “[she] is unable to consume alcohol the way
[Herr] does.” In the face of such damning evidence, it is no
coincidence that L.T.’s statements were only given “some weight.”

108. Overall, the Investigative Report’s cherry-picked statements from the witnesses’
observations, the omission of key, qualifying facts and outright fabrication of supporting facts,
combined with the JA’s slant on the witnesses’ accounts of the evening regarding Herr’s level of
intoxication leads to the foregone conclusion that she was “mentally incapacitated.”

(f) Grant’s Conflict of Interest Compromised the Impartiality of the Investigation

109. On May 2, 2014, long after the investigation had concluded, Grant identified the
existence of a potential conflict of interest between herself and a Review Panel member who was
“a friend of [hers].”

110. While Grant acknowledged this conflict of interest, she did not take any
measures to eliminate the conflict prior to the Review Panel member’s receipt of the
Investigative Report.

D. Cornell’s Failure to Conduct a Timely Investigation

111. Cornell failed to conduct a timely investigation of the allegations and failed to
timely bring the case to a close within 60 days in violation of Policy 6.4. See, Policy 6.4, p. 18,
Exhibit A.

112. Cornell was first notified about Herr’s possible allegations of sexual misconduct
as early as February 18, 2014. However, the investigation was not completed until the
Investigative Report was issued on May 2, 2014, which was 73 days following the JA’s first

meeting with Herr. The “response period” of the investigative stage did not conclude until May

20, 2014, which was 91 days after Cornell’s investigation began.

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113. Pursuant to Policy 6.4, Cornell must complete its investigation in 60 days unless
an extension is required for necessity or good cause.

114. The JA offered several countless excuses for this delay, including “the office
has been plagued with some illnesses” and “I have been out of town on a family matter,” or “I
wound up not having time after the hearing.” In fact, in a recent article in the Cornell Daily Sun
dated March 11, 2015, Cornell admits that the JA “has repeatedly failed to meet deadlines
outlined by Cornell’s Policy 6.4 and federal recommendations when handling sexual assault
investigations” and acknowledged the harmful effects this delay has on accused students (See
http://cornellsun.com/blog/2015/03/11/speedy-thorough-handling-of-sexual-assault-cases/).
None of the JA’s excuses referenced the complexity of the case, number of witnesses or other
substantive case-related reasons for the delay to constitute “good cause.”

115. Although Policy 6.4 requires Cornell to “keep both parties informed on the
investigation’s status,” Cornell did not keep Prasad so informed.

116. The first update Cornell provided was on April 7, 2014, 48 days after the
investigation had begun, which apologized for the extreme delay in his case.

117. Nearly one month later, 72 days after the investigation had begun, Prasad still
had yet to receive the Investigative Report or status update. Prasad contacted the JA to request a
status update on the timing of the investigation report.

118. Despite its own self-imposed guidelines, Cornell engaged in a dilatory
investigative process by delaying the questioning of witnesses, and acting without any sense of
urgency to resolve the matter despite Prasad’s upcoming, and anticipated, graduation date.

119. On April 30, 2014, Grant assured Prasad that he would receive a copy of the

Investigative Report later that evening. Grant’s assurances proved false. Cornell did not transmit

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the report to Prasad until May 2, 2014 thereby causing him additional stress and anxiety while he
continued to wait.

120. By the time Cornell transmitted the Investigative Report to Prasad, he was in the
middle of final examinations. Since the Investigative Report was 14-pages, single-spaced, and
contained various witness interviews and information gathered over several months of
investigation, Prasad requested a five (5) business day extension (until May 23, 2014) to
respond.

121. Notwithstanding its own delay and failures to adhere to its policies, Cornell
denied Prasad’s reasonable 5-business day extension request. Sexual Assault Investigatory Panel
Chair Irby Lovette (“Lovette”) reasoned that the extension must be denied on the grounds that
permitting same would potentially result in Prasad and Herr running into each other at
graduation. However, Lovette’s justification was severely undercut by the fact that Prasad and
Herr had sat an arm’s length away from each other in class all semester. Lovette indicated he
would only permit an extension until 1:00 p.m. on the following Monday, May 19, 2014.

122. Prasad submitted his written input on May 19, 2014, within ten (10) business
days of receipt of the Investigative Report, in accordance with Policy 6.4.

(23. Herr submitted her written input on May 15, 2014.

124. As it turns out, Prasad’s severely delayed case was just one of many cases
during the 2013-2014 year in which Cornell failed to adhere to the 60-day timeline in violation
of Policy 6.4 and Title IX. See, Cornell Sun Article, “J.A. Missing Sexual Assault Investigation
Deadlines,” Exhibit B.

125, In approximately one dozen Policy 6.4 cases filed in 2014, not a single case met

the 60-day timeline. See, Id.

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126. On May 26, 2015, December 2, 2015, and June 16, 2016 the Department of
Education Office of Civil Rights opened investigations against Cornell for violations of Title IX
related to its handling of cases of sexual assault.

127. Cornell’s significant failure to bring the case to a close within 60 days caused
great stress and uncertainty to Prasad’s ability to plan his graduation, including making
arrangements for his out-of-town family and friends to attend his graduation.

IV. The Decision, Sanction & Appeal

128. The Review Panel, comprised of three faculty members appointed by the Dean
of Faculty, met on May 19, 2014 to discuss the matter, and finalized their decision on May 20,
2014. The Report of Reviewers dated May 20, 2014 agreed with all recommendations made by
the JA investigators and concluded as follows:

After fully reviewing and discussing the Investigative Report and
the Responses from both parties, including a review and careful
point-by-point discussion of the Respondent’s Response document
and associated Exhibits, the panel has unanimously accepted the
principle findings of the investigative report and supports the
recommended penalty of expulsion outlined therein. The
Reviewers find no reason to suspect that the report and/or
investigative process were inherently biased against the
Respondent.

129. Thereafter, Prasad diligently submitted his Appeal from the Report of
Reviewers on June 3, 2014, in accordance with the ten (10) business day deadline imposed by
Policy 6.4. Yet, Cornell inexplicably provided substantial leeway to Herr, in allowing her a
thirteen (13) business day/seventeen (17) calendar day extension until June 20, 2014 to submit

her Appeal to the Report of Reviewers. Herr was provided an extension without question, in

comparison to the substantial resistance encountered by Prasad in response to his prior request

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for an extension. Moreover, while Herr was permitted an opportunity to review and respond to
Prasad’s Appeal, Prasad was never provided an opportunity to even review Herr’s Appeal.

130. By letter dated July 16, 2014, Vice President for Student and Academic
Services Susan H. Murphy advised that she concurred with the finding that Herr “did not give
consent to the sexual activity that occurred on December 14, 2013.” She further noted, “while
one might disagree with the precision of the calculation of the blood alcohol level cited by the
investigator, I conclude, based on the many statements provided, that the complainant consumed
considerable quantities of alcohol and consequently was not able to consent to the sexual
activity.”

131, The Decision for expulsion was modified in that Prasad would be permitted to
return to Cornell and receive his diploma after two years, upon full compliance with certain
enumerated conditions.

132. Notwithstanding, in addition to the damages sustained throughout the delayed
investigation process, including Prasad’s inability to attend his own graduation or receive his
diploma, Prasad has sustained tremendous damages to his career prospects as a result of the
Decision and Sanction, including the loss of five (5) job offers to date, due to the fact he is
unable to produce a diploma.

V. The Recommended Sanction Was Unwarranted and
Disproportionate in Light of the Circumstances

133. The JA improperly relied on a “Public Record” from February 10, 2010 to
justify its recommendation that expulsion was the appropriate remedy to impose on Prasad. The
referenced “Public Record” refers to appropriate sanctions issued to an individual who rapes
another member of the Cornell community. Equating Prasad to a rapist, who took advantage of

an incapacitated victim, and “saw her as someone he could exploit,” was entirely unfounded and

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damaging. Notably, not one of the witness statements obtained during the investigation process
established that Herr was intoxicated to the point that she was not able to consent. Yet, the
Review Panel accepted at face value Herr’s unsubstantiated statements and disregarded
exculpatory witness observations in making this assessment.

134. Additionally, in making its Decision, the JA relied on a set of “rules” written by
Cornell University Law School Professor Cynthia Bowman back in 2010. Ironically, following
the Office of Civil Rights Dear Colleague Letter of 2011 and Cornell's subsequent decision to
change the evidence standard, Cynthia Bowman publicly expressed great concern over what that
set of rules would do to the rights of students, acknowledging in an article dated April 4, 2012
that “[t]he consequences for someone expelled for sexual assault are enormous and will follow
him throughout his life, leading to rejection by other schools...a great deal of stigma ... [t]o
impose those consequences on someone requires a rigorous standard of proof and many due
process protections to ensure fairness.” See http://cornellsun.com/blog/2012/04/04/rights-
advocates-spar-over-policy-on-sexual-assault/. Nonetheless, the Review Panel relied on this set
of rules in determining that Prasad’s expulsion was warranted.

135, Notably, Dupew is no longer employed by Cornell. Upon information and
belief, a substantial changing of the guards has occurred within the Cornell Judicial
Administration since the conclusion of Prasad’s case in 2014. Upon information and belief,
Cornell’s disciplinary investigations have been completely moved out of the JA’s office, and are
now conducted entirely by Workforce, Policy and Labor Relations (WPLR).

136. As both Prasad and Herr were last semester seniors at the time the investigation
concluded, there was little to be gained in meting out the severe sanction of expulsion or

withholding Prasad’s degree for two years. Further, the Sanction was disproportionately severe

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in that Prasad was a student in good standing, excelled academically, had no prior disciplinary
record, and Cornell had no reported precedents for a student found responsible for similar
charges.

137. As a result of Cornell’s actions, Prasad’s economic future is significantly
compromised.

VI. Gender Bias Against Prasad as the Male Accused

138. Cornell was required to conduct an impartial and unbiased investigation
process. See, Policy 6.4, p. 17, Exhibit A.

139. Cornell engaged in a biased fact finding process in violation of Title IX.

140. Cornell demonstrated significant procedural errors in violation of Prasad’s
rights to fair process.

141. Cornell’s failure to afford a balanced treatment of the evidence received from
Herr versus Prasad also constituted a violation of its duties to provide an “adequate, reliable, and
impartial investigation” and a “prompt and equitable” process under Title IX.

142. Upon information and belief, there are no reported incidents of male
complainants against female students for sexual assault and/or there are no reports of female
accused students being disciplined for sexual misconduct against male complainants.

143. Upon information and belief, Cornell is knowledgeable of the fact that
complaints of sexual misconduct are disproportionately lodged by females against males.

144. In fact, individuals of the Cornell community have indicated that when males
are accused by female complainants of sexual misconduct, they are invariably found guilty.

145. At all times, Herr’s voluntary (and admittedly gluttonous) use of alcohol was

used to bolster her allegations of unwanted sexual touching. Yet, Prasad’s consumption of

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alcohol that evening was not taken into account as a “mitigating factor” for the same alleged
actions.

146. Cornell’s disparate and discriminatory treatment of Prasad with respect to the
use of alcohol on the evening of December 13-14, 2013 is evident in the JA’s citation in the
Investigative Report to the annual report of the Judicial Administrator dated December 17, 2009,
which states: “The fact that an accused person had been drinking, is neither a defense to sexual
assault nor an exonerating circumstance...”; and the annual report of the Judicial Administrator
dated April 13, 2010, which provides: “[F]ailure to recognize that the victim was too drunk to
consent is no defense to a charge of sexual assault as defined by the Cornell Code and in the case
law interpreting it.”

147. The “Public Record” from the University Review Board dated December 17,
2009 further advises: “Although the Judicial Administrator bears the burden of proof on lack of
consent, she is entitled to satisfy that burden through the complainant’s testimony alone;
corroboration is not required.” Such a biased and one-sided policy plainly drafted in favor of a
female complainant and against a male accused is extraordinarily prejudicial.

148. Thus, the JA’s citation to the annual reports of the Judicial Administrator dated
December 17, 2009 and April 13, 2010 (“Annual Reports”), and the Annual Reports themselves,
demonstrate Cornell’s bias against male students accused of sexual misconduct in violation of
Title IX.

149. Additionally, the Review Panel took at face value Herr’s unfounded allegation
that she was adhering to German “sailboat community values,” when she offered to allow Prasad

to spend the night at her apartment and sleep in her bed. Nowhere does the JA cite to any

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supporting evidence of such a phenomenon, nor does the JA provide a basis for its wholesale
adoption of same.

150. Furthermore, while the testimony from at least five eyewitnesses indicated Herr
was able to provide consent for the sexual activity with Prasad, the only support for Herr’s claim
that she was not able to give consent comes directly from Herr herself, and Witness C.G., who
was not present on the evening of December 13-14, 2013. Nonetheless, the Review Panel found
Herr’s account more credible than numerous eyewitness accounts which contradicted her
testimony.

151. Moreover, the Investigative Report conveniently omitted significant details
provided by Prasad during his two interviews that go toward the essential issue of Herr’s
consent. Specifically, Prasad described the Alleged Incident in considerably more detail than
what was represented in the Investigative Report; for instance, the behaviors and actions of Herr
that unmistakably demonstrated both her initiation of the sexual encounter, as well as her
receptiveness to the sexual activity. Yet, because his testimony was inconsistent with the
testimony provided by Herr, the JA elevated Herr’s testimony as sacrosanct, then deliberately
omitted portions of Prasad’s testimony which were inconsistent with hers. The remainder of his
testimony was mischaracterized within the Investigative Report. In fact, an individual of the
Cornell community emphatically believes that the Investigative Report was slanted in that it did
not accurately and/or thoroughly represent Prasad’s version of the evening.

152. Upon information and belief, once a male student is accused of sexual
misconduct at Cornell, he will be invariably found responsible. The investigative reports are

deliberately drafted against the male student accused.

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153. Thus, the Review Panel’s reliance on Herr’s unsupported statements when
specifically contradicted by numerous witness accounts, combined with the omission of portions
of Prasad’s testimony, evidence a slanted investigation and clear gender bias against the male
accused in violation of Prasad’s right to fair process.

VII. Failure to Abide by the Requisite
Preponderance of the Evidence Standard

154. The U.S. Department of Education Office of Civil Rights and Cornell’s Policy
6.4 require that a preponderance of the evidence standard be used to evaluate allegations of
sexual misconduct. Policy 6.4 defines “preponderance of the evidence” as: “The greater weight
of the credible evidence required to establish a meritorious claim under this policy, including
claims of sexual harassment, assault, or violence (e.g. it is more likely than not that sexual
harassment, assault, or violence has occurred). This preponderance is based on the more
convincing evidence and its probable truth and accuracy, not on the amount of evidence.”

LSS. The preponderance of the evidence standard does not equate to judging the
accused as guilty until proven innocent. In fact, nowhere in the Department of Education’s
guidelines or Cornell’s policies is such a standard referenced. However, Cornell’s investigation
process demonstrated a clear gender bias which resulted in a Decision that did not afford Prasad
the requisite presumption of innocence.

156. Specifically, the Review Panel improperly placed the burden of proof on Prasad
to establish that Herr consented to the sexual activity, instead of placing the burden of proof on
Herr, the complainant, to establish that she did not consent.

157. Cornell’s Policy 6.4 defines consent as follows: “words or actions that show a

voluntary agreement to engage in mutually agreed-upon sexual activity. Consent is not present

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when one is incapable of consent, subject to coercion or threat of coercion, or subject to forcible
compulsion.”

158. Herr demonstrated her consent to the sexual activity through her words, by
verbally agreeing to participate in the sexual encounter, as well as through her actions, by
actively engaging in kissing Prasad, manually stimulating his penis, removing her own clothes
and underwear, and touching and stroking Prasad throughout the sexual encounter.

159. Yet, the Report of Reviewers disregarded these key aspects of the sexual
encounter, in finding that a preponderance of the evidence supported Herr’s factual allegations
that she did not consent to “sexual intercourse” (even though it was undisputed that the parties
did not have sexual intercourse).

160. Upon accepting Herr’s uncorroborated account of the events, the JA
discriminated against Prasad, based solely on his gender. A fair reading of the evidence reveals
that Herr’s account is contradicted and inconsistent, while Prasad’s account is corroborated and
substantiated. Yet the burden of proof was incorrectly placed on Prasad and his account of the
events was inexplicably deemed less credible than Herr’s.

161. Furthermore, upon information and belief, the standard utilized by Cornell in
investigating sexual misconduct complaints was revised in 2013 from a “clear and convincing
evidence” standard to the much lower “preponderance of the evidence” standard. Yet, Cornell
failed to provide notice of the change in policy to its student body, including Prasad. Upon
information and belief, Cornell now provides training related to its sexual misconduct policies to
all incoming students, a practice demonstrating the level of importance Cornell places on

advising its students of the applicable standards. Thus, the failure of Cornell to properly advise

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Prasad as to the change in its governing standard related to sexual misconduct cases was in and
of itself a violation of Title IX.

VIII. Prasad’s Entire Future is
Severely Damaged by Cornell’s Actions

162. In addition to damages sustained as a result of the delayed investigation process,
Prasad’s inability to attend his own graduation or receive his diploma on graduation day caused
tremendous damages to Prasad’s career prospects, including the loss of five (5) job offers to date.

163. The economic damages sustained as a result of the loss of each job offer has an
estimated value of $200,000.00.

164. Even though Prasad will be permitted to receive his diploma in two years, his
academic and disciplinary record is irrevocably and irreversibly tarnished and will not withstand
scrutiny by a potential employer.

165. As a result of Defendant Cornell’s actions, Prasad’s parents’ financial resources
used to provide Prasad with an Ivy League education have been squandered.

166. Without appropriate redress, the unfair outcome of the Hearing will continue to
cause irreversible damages to Prasad, with no end in sight. Prasad seeks redress from this Court
to undo the wrongs occasioned by Cornell.

AS AND FOR A FIRST CAUSE OF ACTION
Violation of Title [IX of the Education Amendments of 1972

167. Prasad repeats and realleges each and every allegation hereinabove as if fully
set forth herein.
168. Title IX of the Education Amendments of 1972 provides, in relevant part, that:

“No person in the United States shall, on the basis of sex, be excluded from participation in, be

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denied the benefits of, or be subjected to discrimination under any education program or activity
receiving Federal financial assistance.”

169. Title IX of the Education Amendments of 1972 applies to an entire school or
institution if any part of that school receives federal funds; hence, athletic programs are subject
to Title [X of the Education Amendments of 1972, even though there is very little direct federal
funding of school sports.

170. Upon information and belief, Defendant Cornell receives federal funding for
research and development.

171. Both the Department of Education and the Department of Justice have
promulgated regulations under Title [IX that require a school to “adopt and publish grievance
procedures providing for the prompt and equitable resolution of student... complaints alleging
any action which would be prohibited by” Title IX or regulations thereunder. 34 C.F.R. §
106.8(b) (Dep’t of Education); 28 C.F.R. § 54.135(b) (Dep’t of Justice) (emphasis added). Such
prohibited actions include all forms of sexual harassment, including sexual intercourse, sexual
assault, and rape.!

172. The procedures adopted by a school covered by Title [X must not only “ensure
the Title IX rights of the complainant,” but must also “/accord] due process to both parties
involved...”

173. The “prompt and equitable” procedures that a school must implement to “accord
due process to both parties involved” must include, at a minimum:

e “Notice... of the procedure, including where complaints may be filed”;

e “Application of the procedure to complaints alleging [sexual] harassment...”:

 

' See generally U.S. Dep’t of Education, Office for Civil Rights, Revised Sexual Harassment Guidance: Harassment
of Students by School Employees, Other Students, or Third Parties -- Title IX (2001) at 19-20, 21 & nn.98-101.
2 Id. at 22 (emphasis added).

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e “Adequate, reliable, and impartial investigation of complaints, including the
opportunity to present witnesses and other evidence”;

e “Designated and reasonably prompt timeframes for the major stages of the
complaint process”; and

e “Notice to the parties of the outcome of the complaint...’?

174. A school also has an obligation under Title [IX to make sure that all employees
involved in the conduct of the procedures have “adequate training as to what conduct constitutes
sexual harassment, which includes “alleged sexual assaults.” 4

175. Based on the foregoing, supra, at 4] 22-164, Defendant Cornell has deprived
Prasad, on the basis of his sex, of his rights to due process and equal protection through the
improper administration of and/or the existence, in its current state, of Defendant Cornell’s
guidelines and regulations.

176. Based on the foregoing, supra, at 49 22-164, Defendant Cornell conducted its
investigation of the Alleged Incident and subsequent investigation and review, in a manner that
was biased against the male being accused. From the outset, the Investigative Report, Report of
the Reviewers and Appeal Decision were slanted in favor of Herr and took her statements at face
value. Absent from the Decision or the Sanction is corroboration for Herr’s allegations that she
was mentally incapacitated and therefore unable to consent, or that her Blood Alcohol Content
was as determined by the JA.

177. Cornell has created an environment where an accused male student is

fundamentally denied due process by being prosecuted through the conduct process under a

 

3 Td. at 20.
4 Td. at 21.

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presumption of guilt. Such a one-sided process deprived Prasad, as a male student, of
educational opportunities at Cornell on the basis of his sex.

178. During the investigation, no credible or reliable evidence was presented in
support of Herr’s claim that she lacked the ability to consent; to the contrary, all of the eye-
witnesses to her behavior just prior to the Alleged Incident concurred that she was in control and
was not intoxicated. Notwithstanding, Defendant Cornell accepted Herr’s claim that she lacked
the ability to consent over Prasad’s claim that he did not perceive anything about her that would
suggest she could not consent, revealing gender discrimination against the male accused in
Cornell’s investigation process.

179. Defendant Cornell had no intention of following its own policies and procedures
for Prasad as the male accused of sexual misconduct when it found Prasad responsible for sexual
misconduct in the face of contradictory witness statements demonstrating Herr was not
incapacitated.

180. Defendant Cornell’s stated policies and procedures, together with its violations
thereof with respect to Prasad only, as the male accused of sexual assault, demonstrate Defendant
Cornell’s gender-biased practices with respect to males accused of sexual assault at Cornell.

181. Based on the foregoing, supra, at 4] 22-164, Defendant Cornell imposed
sanctions on Prasad that were disproportionate to the severity of the charges levied against him
and without any consideration of his clean disciplinary record at Cornell.

182. Based on the foregoing, supra, at J] 22-164, Defendant Cornell’s guidelines and
regulations are set up to disproportionately affect the male student population of the Cornell
University community as a result of the higher incidence of female complainants of sexual

misconduct against male complainants of sexual misconduct.

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183. Based on the foregoing, supra, at §] 22-164, male respondents in sexual
misconduct cases at Cornell are discriminated against solely on the basis of sex. They are
invariably found guilty, regardless of the evidence, or lack thereof.

184. As a result of the foregoing, Prasad is entitled to damages in an amount to be
determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

AS AND FOR A SECOND CAUSE OF ACTION
Breach of Contract

185. Prasad repeats and realleges each and every allegation hereinabove as if fully
set forth herein.

186. A contractual relationship existed between Defendant Cornell and Prasad at all
relevant times hereto.

187. Defendant Cornell was required to act in accordance with Policy 6.4 when
investigating and adjudicating allegations of sexual misconduct.

188. Based on the foregoing, Defendant Cornell has materially breached its
contractual relationship with Prasad by failing to comply with its obligations, standards, policies
and procedures set forth in Policy 6.4 during the investigation and adjudication of Prasad’s case.

189. In breach of its obligations under Policy 6.4, Defendant Cornell failed to, inter
alia, (i) gather relevant evidence, (ii) dismiss the complaint for lack of supporting evidence, (iii)
conduct an impartial investigation; and (iv) conduct a timely investigation.

190. As a direct and foreseeable consequence of these breaches, Prasad sustained
tremendous damages, including, without limitation, emotional distress, loss of educational and
career opportunities, reputational damages, economic injuries and other direct and consequential

damages.

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191. Prasad is entitled to recover damages for Defendant Cornell’s breach of the
express and/or implied contractual obligations described above.

192. Based on the foregoing, Defendant Cornell breached and violated the covenant
of good faith and fair dealing inherent in every contract arising therefrom.

193. As a result of the foregoing, Prasad is entitled to damages in an amount to be
determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

AS AND FOR A THIRD CAUSE OF ACTION
Violation of New York State Human Rights Law

194. Prasad repeats and realleges each and every allegation hereinabove as if fully
set forth herein.

195. Defendant Cornell is an education corporation organized and operating as such
under the laws of the State of New York.

196. The New York State Human Rights Law § 296(4) provides “[iJt shall be an
unlawful discriminatory practice for an education corporation or association ... to permit the
harassment of any student or applicant, by reason of his race, color, religion, disability, national
origin, sexual orientation, military status, sex, age, or marital status[.]” N.Y. Exec. Law § 296(4).

197. Cornell’s Policy 6.4 states, among other thing:

Cornell University’s commitment to diversity and inclusiveness is
grounded in providing an environment that is free from all
prohibited discrimination, protected-status harassment, sexual
assault/violence, and bias activity, in particular when such actions
are directed at a member or group of the Cornell community
because of that individual’s or group’s actual or perceived age,
color, creed, disability, ethnicity, gender, gender identity or
expression....

Cornell University prohibits its faculty, administrative and
academic staff members, postdocs, and undergraduate and

graduate students from engaging in any form of prohibited
discrimination, protected-status harassment, sexual harassment,

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and sexual assault/violence, and expects these individuals to
refrain from committing acts of discrimination, bias, or sexual
assault/violence within the university’ s jurisdiction.

198. Based on the foregoing supra, at J{ 138-153, Cornell permitted discrimination
against Prasad on the basis of his sex.

199, Based on the foregoing supra, at §§] 138-153, Cornell authorized, condoned
and/or acquiesced to discriminatory conduct against Prasad.

200. Based on the foregoing supra, at J 138-153, Cornell knew or should have
known of such discriminatory conduct and failed to undertake action to prevent it.

201. Defendant Cornell engaged in the following discriminatory acts or practices
against Prasad as the male accused: Cornell subjected Prasad to disciplinary action in an arbitrary
and capricious way, and in discrimination against him on the basis of his male sex; upon
accepting Herr’s uncorroborated account of the events, the JA discriminated against Prasad,
based solely on his gender; Cornell failed to adhere to its own guidelines and regulations, and the
guidelines and regulations themselves are insufficient to protect the rights of male students; the
Decision was discriminatory in that given the evidence (or lack thereof), a discriminatory bias
against males was required for a conclusion of sexual misconduct to be reached.

202. Based on the foregoing facts and circumstances, Cornell engaged in unlawful
discriminatory practices in violation of N.Y. Exec. Law § 296(4).

203. As a direct and proximate result of the above conduct, Prasad sustained
tremendous damages, including, without limitation, emotional distress, loss of educational and
career opportunities, economic injuries and other direct and consequential damages.

204. As a result of the foregoing, Prasad is entitled to damages in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements.

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PRAYER FOR RELIEF

WHEREFORE, for the foregoing reasons, Prasad demands judgment against
Defendant Cornell University as follows:

(i) on the first cause of action for violation of Title IX of the Education
Amendments of 1972, a judgment awarding Prasad damages in an amount to be determined at
trial, including, without limitation, damages to physical well-being, emotional and
psychological damages, damages to reputation, past and future economic losses, loss of
educational and career opportunities, and loss of future career prospects, plus prejudgment
interest, attorneys’ fees, expenses, costs and disbursements;

(11) on the second cause of action for breach of contract, a judgment awarding
Prasad damages in an amount to be determined at trial, including, without limitation, damages
to physical well-being, emotional and psychological damages, damages to reputation, past and
future economic losses, loss of educational and career opportunities, and loss of future career
prospects, plus prejudgment interest, attorneys’ fees, expenses, costs and disbursements;

(iii) on the third cause of action under New York State Human Rights Law §
296(4), a judgment awarding Prasad damages in an amount to be determined at trial,
including, without limitation, damages to physical well-being, emotional and psychological
damages, damages to reputation, past and future economic losses, loss of educational
opportunities, and loss of future career prospects, plus prejudgment interest, attorneys’ fees,
expenses, costs and disbursements;

(iv) | awarding Prasad such other and further relief as the Court deems just, equitable

and proper.

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JURY DEMAND

Plaintiff herein demands a trial by jury of all triable issues in the present matter.

 
 

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Dated: New York, New York |
July 28, 2016 WARSHAW BURSTEIN, LLP
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